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                       IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO


IN RE: MASON WILLIAM HERRING                                No. 1:22-mc-00033-WJ-JCH-KK


                                 ORDER TO SHOW CAUSE

Before Panel Members Chief United States District Judge William P. Johnson, Senior United

States District Judge Judith C. Herrera, and United States Magistrate Judge Kirtan Khalsa.

               _____________________________________________________

       Mr. Herring was arrested on May 27, 2022, on a complaint that alleged he committed "the

offense of assault of pregnant person." Return Executed, filed June 1, 2022, in Texas v. Herring,

Cause No. 1772106, 185th District Court of Harris County, Texas; see also Indictment on Felony

Charge: Assault of Pregnant Person, filed November 4, 2022, in Texas v. Herring, Cause No.

1772106, 185th District Court of Harris County, Texas ("Indictment").

       The Local Rules of Civil Procedure for the District of New Mexico state that if an "attorney

is charged in any court with a crime as defined in D.N.M.LR-Civ. 83.13, the attorney must, within

14 days after the attorney receives notice that the charge has been filed, notify the clerk of this

court in writing of the charge." D.N.M.LR-Civ. 83.2(f)(4). "Failure to self-report is a separate

cause for disciplinary action." D.N.M.LR-Civ. 83.2(g). Local Rule 83.13 defines a "crime" for

which discipline may be imposed as, among other things, "any felony." D.N.M.LR-Civ. 83.13(a).

The offense "assault of pregnant person" is a felony. Indictment at 1. Mr. Herring has not notified

the Clerk of Court in writing of the charge against him.

       Mr. Herring shall, within 30 days of entry of this Order, show cause in writing why the

Court should not suspend him from the practice of law in the District of New Mexico due to his
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failure to notify the Clerk of the felony charge. Failure to timely show cause will result in

suspension from the Federal Bar of the District of New Mexico.                    See In re Bello,

237 Fed.Appx. 363, 366 (10th Cir. 2007) (“The District of New Mexico has ‘inherent supervisory

power’ over the conduct of attorneys appearing in its courtrooms and this power includes the

ability ‘to control admission to its bar and to discipline attorneys who appear before it.’”) (quoting

United States v. Ryans, 903 F.2d 731, 734 n.4 (10th Cir. 1990) and Chambers v. NASCO, Inc., 501

U.S. 32, 43 (1991) (internal citations omitted)).

        The Panel reminds Mr. Herring of his obligation to notify the Clerk of Court if he "is

suspended or disbarred for any reason by any court" or "is convicted of a crime." D.N.M.LR-

Civ. 83.2(f)(2, 5).

        IT IS SO ORDERED.

                                               For the Panel:


                                               _________________________________________
                                               WILLIAM P. JOHNSON
                                               CHIEF UNITED STATES DISTRICT JUDGE




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